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                 IN THE UNITED STATES COURT OF APPEALS
                         FOR THE FIFTH CIRCUIT
                               -4< DI-C v- ( 03-              l
                                                   United States Court of Appeals
                                                            Fifth Circuit

                                                                              FILED
                                        No. 19-70012




        BILLY JACK CRUTSINGER,
                                                                         AUG 2 7 2019
                          Petitioner-Appellant,
                                                                  CLERK, U.S. DISTRICT COURT
        versus                                                     By
                                                                             Deputy
                                                                                       :r;7

        LORIE DAVIS, Director,
        Texas Department of Criminal Justice, Correctional Institutions Division,

                          Respondent-Appellee.




                        Appeal from the United States District Court
                             for the Northern District of Texas




        Before SMITH, OWEN, and GRAVES, Circuit Judges.
        JERRY E. SMITH, Circuit Judge:

              Billy Crutsinger moves for a Certificate of Appealability ("COA") to
        appeal whether, under Federal Rule of Civil Procedure 60(b)(6), extraordinary
        circumstances require us to reopen the final judgment and grant funding for
        representation services. He also moves for a stay of execution. Because Crut-
        singer fails to show that reasonable jurists would debate whether the district
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 court abused its discretion in denying his motion, we deny a COA. Moreover,
 because Crutsinger does not establish that the circumstances justify the exer-
 cise of our equitable discretion, we deny the motion for a stay.

                                            I.
       In 2003, Billy Jack Crutsinger murdered eighty-nine-year-old Pearl
 Magouirk and her seventy-one-year-old daughter, Patricia Syren. Crutsinger
 v. Davis (Crutsinger III), 929 F.3d 259, 261 (5th Cir. 2019). He was convicted
 of capital murder and sentenced to death, id., and is scheduled to be executed
 on September 4, 2019.

       Last month, we remanded for consideration of Crutsinger's Rule 60(b)(6)
 motion, id. at 266, then denied his motion for a stay of execution, Crutsinger v.
 Davis (Crutsinger IV), 930 F.3d 705, 706-09 (5th Cir. 2019) (per curiam). In a
 thorough and well-reasoned opinion, the district court denied Crutsinger's
 Rule 60(b) motion, his 18 U.S. C. § 3599(£) funding request, and his request for
 a COA. Crutsinger v. Davis (Crutsinger V), No. 4:07-CV-00703-Y, 2019 WL
 3749530, at *1-9 (N.D. Tex. Aug. 8, 2019).

                                           II.
                                           A.
       As a jurisdictional prerequisite, a habeas petitioner must obtain a COA
 before we may consider his appeal. 1 A COA is required to appeal the denial of
 a Rule 60(b) motion. Buck v. Davis, 137 8. Ct. 759, 777 (2017). Issuance of a
 COA requires the petitioner to make "a substantial showing of the denial of a
 constitutional right." 28 U.S.C. § 2253(c). Ultimately, the central question is
 "whether a reasonable jurist could conclude that the District Court abused its



       1  Raby v. Davis, 907 F.3d 880, 883 (5th Cir. 2018); accord Miller-El v. Cockrell,
 537 U.S. 322, 335-36 (2003); see also 28 U.S.C. § 2253(c).
                                            2
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 discretion in declining to reopen the judgment." 2

        Federal Rule of Civil Procedure 60(b)(6) permits relief from a judgment
 or order for "any other reason that justifies relief." FED. R. Crv. P. 60(b)(6). To
 prevail on a Rule 60(b)(6) motion in the habeas context, a movant must
 (1) make the motion within a reasonable time, FED. R. Crv. P. 60(c), and
 (2) establish that extraordinary circumstances justify the reopening of the final
 judgment, Gonzalez v. Crosby, 545 U.S. 524, 535 (2005). Such extraordinary
 circumstances "will rarely occur in the habeas context." Id. "A change in deci-
 sional law after entry of judgment does not constitute extraordinary circum-
 stances and is not alone grounds for relief from a final judgment." 3

                                                B.
        Crutsinger maintains that he is entitled to relief under Rule 60(b)
 because recent changes in decisional law, including Ayestas v. Davis, 138 S. Ct.
 1080 (2018), Trevino v. Thaler, 569 U.S. 413 (2013), and Martinez v. Ryan, 566
 U.S. 1 (2012), coupled with seven additional factors, 4 constitute extraordinary


        2 Buck, 137 S. Ct. at 777; accord Miller-El, 537 U.S. at 336 ("[A] petitioner must show
 that reasonable jurists could debate whether ... the petition should have been resolved in a
 different manner or that the issues presented were adequate to deserve encouragement to
 proceed further." (internal quotation marks, alteration, and citations omitted)).
        3Raby, 907 F.3d at 884 (internal quotation marks, alteration, and citations omitted);
 accord Adams v. Thaler, 679 F.3d 312, 319-20 (5th Cir. 2012); Hernandez v. Thaler, 630 F.3d
 420, 430 (5th Cir. 2011); Bailey v. Ryan Stevedoring Co., 894 F.2d 157, 160 (5th Cir. 1990).
        4 Those factors include (1) "[t]he nature of the proceedings as habeas corpus, in which
 traditional res-judicata rules have never applied, and the careful adjudication of which the
 Supreme Court has called the highest duty of a federal court," Crutsinger V, 2019 WL
 3749530, at *2; (2) "[t]he nature of the case as a capital case," id.; (3) "[t]he nature of the
 alleged defect as a deprivation of guaranteed representation, which is structural in nature
 and undermines public confidence in the judicial process," id.; (4) "[t]he nature of the alleged
 defect, which operated to preclude hearing the true merits of the case because it thwarted
 Crutsinger's ability 'even to discover and allege material facts in support of claims he sought
 to pursue in good faith,"' id.; (5) "[t]he fact that the Supreme Court specifically mentioned
 this case in Ayestas," id.; (6) "[t]he facts underlying the claims affected by the alleged defect
 are egregious, including that petitioner's trial counsel went to trial only five months after
 being appointed in a capital case and state habeas counsel effectively abandoned him," id.;
                                                 3
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 circumstances. Crutsinger underscores that "[r]easonable jurists could .
 debate whether ... the ruling of the district court denying [Rule] 60(b) relief
 and funding should have been resolved in a different manner or that the issues
 presented were adequate to deserve encouragement to proceed further."

        In support of this, Crutsinger cites the dissent from our recent decision 5
 and claims that the district court incorrectly analyzed the seven additional
 factors he raised. He contends-contrary to Crutsinger IV, 930 F.3d at 707 &
 n.1-that Diaz v. Stephens, 731 F.3d 370, 376 (5th Cir. 2013), and Adams,
 679 F.3d at 319-20, do not bar relief under Rule 60(b). Crutsinger essentially
 maintains that Adams and Diaz were wrongly decided because Martinez was
 an equitable ruling as distinguished from a constitutional one.

        Crutsinger next recites the Ayestas standard for funding under § 3599(£),
 asserting that "[t]he district court's record-bound, merits-review conflicts with
 Ayestas in how funding determinations are assessed." He contends that he has
 doggedly pursued his § 3599(£) right to funding over the last decade and that
 his funding request is not frivolous. Crutsinger further emphasizes that the
 extraordinary circumstances underlying his Rule 60(b) motion do not include
 merely the changes in decisional law and his diligent pursuit of§ 3599(£) fund-
 ing. He posits that the risk this case will undermine public confidence in the
 judicial process also supports his claim of extraordinary circumstances.

        Lastly, Crutsinger stresses that "Gonzalez did not announce any rule
 that a change in law cannot constitute an extraordinary circumstance warrant-
 ing relief from the judgment."           In Gonzalez, 545 U.S. at 536, the Court


 and (7) the fact that "Crutsinger has exercised extraordinary diligence in pursuing his repre-
 sentation rights," id.
        5 Crutsinger III, 929 F.3d at 266 (Graves, J., dissenting) ("Because I conclude that
 Billy Jack Crutsinger's motion under Federal Rule of Civil Procedure 60(b)(6) should be
 granted, I would vacate and remand for proper consideration of his funding motion.").
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 remarked that "not every interpretation of the federal statutes setting forth
 the requirements for habeas provides cause for reopening cases long since
 final." Importantly, Crutsinger asserts, this "does not mean that no erroneous
 interpretation does" (emphasis omitted). In contrast to the circumstances in
 Gonzalez, he asserts that he was "independently deprived ... of a federally
 guaranteed right" and that "[t]he deprivation of that right demands a remedy."
 Consequently, he contends that the totality of the circumstances warrants
 relief under Rule 60(b).

        In response, the state maintains that reasonable jurists would not debate
 whether the district court abused its discretion in declining to reopen because
 Gonzalez and circuit precedent, forecloses such relief. In Gonzalez, 545 U.S. at
 536, the Court stated that "[i]t is hardly extraordinary that subsequently, after
 petitioner's case was no longer pending, this Court arrived at a different inter-
 pretation" of a federal statute. We reiterated this sentiment in both of our
 recent Crutsinger decisions. 6 The state further underscores that "[i]f a change
 in law that entirely precluded merits review-as in Gonzalez-is not sufficient
 to warrant Rule 60(b)(6) relief, then the change in the law ... on a lesser
 matter-funding to possibly support a claim for relief-necessarily cannot
 warrant Rule 60(b)(6) relief."

        Echoing our recent statements in Crutsinger IV, 930 F.3d at 707 & n.1,
 the state avers that "this [c]ourt's precedent forecloses reliance on Martinez
 and Trevino to achieve relief under Rule 60(b)." The state cites our recent pub-
 lished decision in In re Johnson, Nos. 19-20552, 19-70013, 2019 WL 3814384,



        6 Crutsinger IV, 930 F.3d at 707; Crutsinger III, 929 F.3d at 266 ("It would appear that
 the Supreme Court's holding in Gonzalez that not every interpretation of the federal statutes
 setting forth the requirements for habeas provides cause for reopening cases long since final
 is at least instructive, if not dispositive, of Crutsinger's Rule 60(b) motion." (internal quota-
 tion marks and citation omitted)).
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 at *3 (5th Cir. Aug. 15, 2019), to buttress that contention. In Johnson, relying
 on Raby, 907 F.3d at 884, we reaffirmed that a claim of deficient representta-
 tion, without more, is insufficient to obtain Rule 60(b) relief. Johnson, 2019
 WL 3814384, at *3. Moreover, we emphasized there, as here, that the movant
 failed to offer "any authority that[§] 3599 has ever provided relief pursuant to
 Rule 60(b)." Id. at *4. Consequently, we denied a COA. 7

        Finally, the state contends that the other factors raised by Crutsinger
 weigh against Rule 60(b) relief because they are not extraordinary. The state
 notes that Diaz and Haynes v. Davis, 733 F. App'x 766, 768-70 (5th Cir. 2018),
 found that changes in decisional law (specifically, Trevino and Martinez),
 coupled with various other "equities," were not enough to establish extraordin-
 ary circumstances. In Diaz, 731 F.3d at 377), we emphasized that the peti-
 tioner's circumstances were "no more unique or extraordinary than any other
 capital inmate who defaulted claims in state court prior to Trevino." (Citation
 omitted.) So, too, with Crutsinger's funding request after Ayestas.

        Moreover, in Haynes, 733 F. App'x at 770,we maintained that "finality is
 a particularly strong consideration in the habeas context." The state empha-
 sizes that here, as in Haynes, Crutsinger has been litigating his claims in
 federal court for more than a decade and has received multiple stages of review.
 In both cases, we found that Rule 60(b) relief was not warranted. See id.; Diaz,
 731 F.3d at 379.

        Ultimately, the state contends, "Crutsinger cites no authority for the
 proposition that a district court's entirely discretionary denial of funding in



         7 Id. The state also maintains that the district court's thorough opinion explicitly
 addressed the Crutsinger III dissent's concerns-that the denial offunding risked undermin-
 ing the public's confidence in the judicial process and producing an unjust result, Crut-
 singer III, 930 F.3d at 271 (Graves, J., dissenting)-by "discussing the prior merits review of
 the claim" and providing a proper review of Crutsinger's funding request under Ayestas.
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 any way deprived him of his statutory right to representation." Consequently,
 because none of the other factors he cites establishes extraordinary circum-
 stances, "he cannot show that reasonable jurists would debate the lower court's
 denial of that motion."

                                             C.
       Crutsinger is not entitled to a COA because reasonable jurists would not
 debate whether the district court abused its discretion in denying his Rule
 60(b) motion. A petitioner "seeking relief under Rule 60(b)(6) [must] show
 extraordinary circumstances justifying the reopening of a final judgment."
 Gonzalez, 545 U.S. at 535 (internal quotation marks and citation omitted).
 This is a strict standard, so extraordinary circumstances are rarely present in
 the habeas context. Id. Mere changes in decisional law, without more, do not
 constitute extraordinary circumstances. See id. at 536-37. "It is hardly extra-
 ordinary that subsequently, after petitioner's case was no longer pending, this
 Court arrived at a different interpretation" of a federal statute. Id. at 536.
 Importantly, the Court maintained, "not every interpretation of the federal
 statutes setting forth the requirements for habeas provides cause for reopening
 cases long since final." Id. Moreover, "if, as in Gonzalez, a change in law that
 entirely precluded merits review is not sufficient to warrant Rule 60(b)(6)
 relief," then (as is the case here) a change in law that did not preclude merits
 review does not merit such relief. Crutsinger IV, 930 F.3d at 707 (internal
 quotation marks omitted).

        Circuit precedent also squarely forecloses Crutsinger's claim. 8 We noted
 as much in both of our recent decisions.            Crutsinger IV, 930 F.3d at 707;



        s E.g., Johnson, 2019 WL 3814384, at *3; Raby, 907 F.3d at 884; Haynes, 733 F. App'x
 at 768-70; Diaz, 731 F.3d at 375-76;Adams, 679 F.3d at 319-20; Hernandez, 630 F.3d at 430;
 Bailey, 894 F.2d at 160.
                                              7
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 Crutsinger III, 929 F.3d at 266. This overwhelming precedent is effectively
 dispositive of the matter. 9

        Crutsinger attempts to evade this precedent by claiming that the
 changes in decisional law, coupled with seven additional factors, constitute
 extraordinary circumstances. The district court, however, rejected this theory,
 engaging in an exhaustive review of the seven factors presented by Crutsinger.
 Crutsinger V, 2019 WL 3749530, at *2-6. The court's analysis is both helpful
 and, more importantly, correct.

        Citing both Supreme Court and circuit precedent, the district court con-
 cluded that the capital habeas nature of this case does not make its circum-
 stances extraordinary. Id. at *2. The court also noted that, despite Crutsin-
 ger's claims, the denial of funding was not structural error, making his circum-
 stances all the more ordinary. See id. at *3.

        The district court engaged in an extensive review of the record to dem-
 onstrate that Crutsinger's representation at trial was not egregious and that
 he was not precluded from receiving a merits-based review of his federal
 habeas claims, including his claim of ineffective assistance of counsel ("lAC").
 Id. at *3-6; see also Crutsinger v. Thaler (Crutsinger 1), No. 4:07-CV-703-Y,
 2012 WL 369927, at *4-13 (N.D. Tex. Feb. 6, 2012). As the court rightly em-
 phasized, Crutsinger's "assertions that the denial of funding precluded a true
 merits review and that trial counsel's representation was egregious, border on
 frivolous." Crutsinger V, 2019 WL 3749530, at *3. Neither of these factors
 supports his claim that extraordinary circumstances justify reopening.

        The district court concluded that Ayestas's abrogation of Crutsinger v.
 Stephens (Crutsinger II), 576 F. App'x 422 (5th Cir. 2014), cert. denied,


        9 Moreover, here, as was true in Johnson, Crutsinger fails to offer "any authority that

 [§] 3599 has ever provided relief pursuant to Rule 60(b)." 2019 WL 3814384, at *4.
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 135 S. Ct. 1401 (2015), did not support a finding of extraordinary circum-
 stances because Ayestas "emphasize[d] that there was no error in this case
 before Trevino." Crutsinger V, 2019 WL 3749530, at *6. Lastly, the court
 concluded, even "[a]ssuming Crutsinger has exhibited due diligence, he fails to
 provide authority that diligence plus a change in law are sufficient in death-
 penalty cases to reopen a judgment under Rule 60(b)(6)." 10

        Ultimately, the changes in decisional law, even when viewed in conjunc-
 tion with these additional factors, fail to establish extraordinary circumstances
 warranting relief from the judgment. Therefore, the district court did not
 abuse its discretion in denying the Rule 60(b) motion. Because jurists of reason
 would not debate this conclusion, particularly in light of Supreme Court and
 Fifth Circuit precedent, Crutsinger is not entitled to a COA.

                                               III.
                                                A.
        As discussed in Crutsinger IV, 930 F.3d at 706, "a stay of execution is an
 equitable remedy. It is not available as a matter of right, and equity must be
 sensitive to the [s]tate's strong interest in enforcing its criminal judgments
 without undue interference from the federal courts." 11                  We evaluate four



        10 Id. The district court went a step further: Acknowledging the Crutsinger III dis-
 sent's concerns, 929 F.3d at 266-71 (Graves, J., dissenting), the court reviewed Crutsinger's
 § 3599(£) request under Ayestas. Crutsinger V, 2019 WL 3749530, at *6-9.
         In Ayestas, 138 S. Ct. at 1094, the Court noted that "the 'reasonably necessary' test
 requires an assessment of the likely utility of the services requested, and § 3599(£) cannot be
 read to guarantee that an applicant will have enough money to turn over every stone."
 Therefore, the district court stressed, proper application of the test required it to consider:
 (1) "the potential merit of the claim that Crutsinger wants to pursue," Crutsinger V, 2019 WL
 3749530, at *7; (2) "the likelihood that the services will generate useful and admissible evi-
 dence," id.; and (3) "the prospect that Crutsinger will be able to clear any procedural hurdles
 standing in the way," id. Finding that Crutsinger failed to meet that standard, the court
 denied funding. Id. at *9.
        11   Hill v. McDonough, 547 U.S. 573, 584 (2006); see also Sepulvado v. Jindal, 729 F.3d
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 factors. 12 First, "whether the stay applicant has made a strong showing that
 he is likely to succeed on the merits." Charles, 612 F. App'x at 218 n. 7 (citation
 omitted). Second, "whether the applicant will be irreparably injured absent a
 stay." I d. (citation omitted). Third, "whether issuance of the stay will substan-
 tially injure the other parties interested in the proceeding." Id. (citation omit-
 ted). And fourth, "the public interest." Id. (citation omitted).

         "The first two factors of the traditional standard are the most critical. It
 is not enough that the chance of success on the merits be better than negligi-
 ble." Nken, 556 U.S. at 434 (internal quotation marks and citation omitted).
 "Once an applicant satisfies the first two factors, the traditional stay inquiry
 calls for assessing the harm to the opposing party and weighing the public
 interest." Id. at 435. "These factors merge when the [state] is the opposing
 party." Id. "[C]ourts must be mindful that the [state's] role as the respondent
 in every ... proceeding does not make the public interest in each individual
 one negligible." Id.

                                             B.
         Crutsinger asserts that we should grant a stay because he was forced "to
 file a habeas corpus application ... without the provision of high-quality repre-
  sentation guaranteed to him by 18 U.S.C. § 3599." Citing Lonchar v. Thomas,
  517 U.S. 314 (1996), Crutsinger avers that he cannot "be executed until the
  merits of his initial habeas corpus application have been meaningfully adjudi-
  cated." He notes that Barefoot v. Estelle, 463 U.S. 880 (1983), mandates "mean-
  ingful appellate review for any issue" on which we grant a COA.



  413, 420 (5th Cir. 2013).
         12Murphy v. Collier, 919 F.3d 913, 915 (5th Cir. 2019) (per curiam); Charles v.
  Stephens, 612 F. App'x 214, 218 n.7 (5th Cir. 2015) (per curiam); see also Nken v. Holder,
  556 U.S. 418, 425-26 (2009).
                                             10
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        As he did in his initial motion for a stay of execution, Crutsinger IV,
 930 F.3d at 708, Crutsinger contends that he "may not be executed until he
 has been afforded the representation in federal collateral proceedings that he
 is due under ... § 3599." Without an "appropriate post-conviction investiga-
 tion," he "remains exposed to the substantial risk that meritorious habeas
 corpus claims will never be heard."

                                             c.
        Despite his familiarity with our standard for a stay of execution, see
 Crutsinger IV, 930 F.3d at 706-09, Crutsinger does not even attempt to engage
 with the four equitable factors. In any event, it is moot: As was the case in
 Crutsinger IV, 930 F.3d at 706-07, he fails to establish a likelihood of success
 on the merits. That failure "is, effectively, dispositive of the motion for stay."
 Id. at 707.

        Moreover, the arguments raised by Crutsinger, which essentially echo
 those he raised in Crutsinger IV, do not support granting a stay. Lonchar and
 Barefoot stand for the unremarkable proposition that a petitioner may not be
 executed before a court has reviewed the merits of his habeas petition. Lon-
 char, 517 U.S. at 319-20. Crutsinger received such a review more than seven
 years ago. Crutsinger I, 2012 WL 369927, at *4-13; see also Crutsinger II,
  576 F. App'x at 425-31. As part of that review, he was given a full and fair
  opportunity to litigate the merits of his habeas petition. Crutsinger V, 2019
 WL 3749530, at *3-6. Any claim to contrary is baseless. Id. at *3. Moreover,
  Crutsinger's continued insistence that he is entitled to § 3599(£) funding is
  false. Such funding is discretionary. 13

        Crutsinger's reliance on McFarland v. Scott, 512 U.S. 849, 858 (1994),


        13 Ayestas, 138 S. Ct. at 1094 ("Congress has made it clear, however, that district
  courts have broad discretion in assessing requests for funding.").
                                             11
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 and Battaglia v. Stephens, 824 F.3d 4 70, 4 75 (5th Cir. 2016), is similarly
 misplaced. Those cases provide only that (1) a capital defendant must "have
 sufficient time to request the appointment of counsel and file a formal habeas
 petition prior to his scheduled execution," McFarland, 512 U.S. at 858, and
 (2) newly appointed counsel, if chosen for a defendant who effectively lacked
 habeas counsel, must be given time to develop a habeas claim for the appoint-
 ment to be meaningful, Battaglia, 824 F.3d at 475-76. "Crutsinger, however,
 has been well-represented by his counsel for approximately eleven years," and
 he would not, as in McFarland or Battaglia, "be deprived of meaningful counsel
 absent a stay." Crutsinger IV, 930 F.3d at 708. Lastly, "[e]ven if Crutsinger
 could establish a likelihood of success on the merits-which he cannot-the
 other [equitable] factors weigh in favor of the state." I d. at 709.

        We take seriously "a [s]tate's strong interest in the timely enforcement
 of valid judgments of its courts." 14 "Equity must be sensitive to the [s]tate's
 strong interest in enforcing its criminal judgments without undue interference
 from the federal courts." Crutsinger IV, 930 F.3d at 709 (citation omitted).
  Crutsinger's motion for a stay of execution is therefore denied.

        In summary, the motion for a COA and the motion for stay of execution
  are DENIED.




        14 Murphy v. Collier, 139 S. Ct. 1475, 1481 (2019) (Alito, J., dissenting); see also In re
 Blodgett, 502 U.S. 236, 239 (1992) (per curiam).
                                                12
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 JAM:ES E. GRAVES, JR., Circuit Judge, dissenting:
       I would grant the Certificate of Appealability and the motion for stay
 essentially for reasons I have previously stated. See Crutsinger v. Davis, 929
 F.3d 259, 266 (5th Cir. 2019); see also Crutsinger v. Davis, 930 F.3d 705 (5th
 Cir. 2019). Thus, I respectfully dissent.




                                                 Certified as a true copy and issued
                                                 as the mandate on Aug 26, 2019

                                                 Attest:  d t..A, W• {J       C...
                                                 Clerk, U.S.   dt~rt of App~, Fifth Circuit




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d.,-~
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                                      FIFTH CIRCUIT
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   LYLE W. CAYCE                                                         TEL. 50~~~~~,!.::;!.!~;::..:.....~---
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                                                                               Suite 115
                                                                      NEW ORLEANS, LA 70130


                                  August 26, 2019


  Ms. Karen S. Mitchell
  Northern District of Texas, Fort Worth
  United States District Court
  501 W. lOth Street
  Room 310
  Fort Worth, TX 76102

          No. 19-70012       Billy Crutsinger v. Lorie Davis, Director
                             USDC No. 4:07-CV-703         ,_I(

   Dear Ms. Mitchell,
  Enclosed is a certified copy of the opinion issued as the mandate.


                                       Sincerely,
                                       LYLE W. CAYCE, Clerk

                                        ~t~J (~
                                       By:
                                       Nancy F. Dolly, Deputy Clerk
                                       504-310-7683
   Enclosure(s)
   cc:    Mr.   Travis Golden Bragg
          Ms.   Lydia M. Brandt
          Mr.   Jefferson David Clendenin
          Ms.   Gwendolyn Suzanne Vindell
